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                      Federal Consistency Manual




                                  Rhode Island
                     Coastal Resources Management Program


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                                  02879-1900
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                                                 Introduction


The Federal Coastal Zone Management Act (CZMA) (16 USC §§ 1451-1464) encourages states to take a
leading role in the management of their coastal regions. As one incentive for state participation in the federal
coastal zone management program, section 307 of the CZMA (Appendix A) requires that various federal
activities that are reasonably likely to affect any land or water use or natural resource of the coastal zone be
consistent with a state's approved coastal zone management program. Before certain activities can take place,
federal agencies or applicants for federal approvals or assistance must submit a consistency determination or
certification to the state coastal management agency that the activity will be conducted consistent with the
state's federally approved coastal management program (CMP). Through this process, the state has the
opportunity to evaluate those federal activities which affect the state's coastal zone and ensure that the
activities meet state coastal management policies. Hence, a primary purpose of section 307 is to ensure a
balance between state coastal zone management programs and federal activities.

In 1978, with the adoption of the Rhode Island Coastal Resources Management Program (RICRMP) into the
federal coastal management program established by the CZMA, federal activities affecting any Rhode Island
coastal use or resources became subject to the consistency provisions of section 307*. Since that time, the
consistency process has become an important step for ensuring federal activities respect Rhode Island's
valuable coastal zone. The agency responsible for overseeing implementation of the RICRMP generally, and
federal consistency in particular, is the Rhode Island Coastal Resources Management Council (CRMC).

This handbook is intended to provide federal agencies, federal license, permit and assistance applicants, and
other interested persons with an understanding of the federal consistency requirement under section 307 as it
is implemented by the RICRMP. A brief description of Executive Order 12372 (E.O. 12372) (Appendix B),
its implementation in Rhode Island, and its relationship to the section 307 review process is also provided.
The CRMC's procedures for ensuring consistency with applicable enforceable policies of the RICRMP are
outlined and a listing of various federal activities, both direct and indirect, and assistance programs subject to
the federal consistency requirement is provided. This manual is intended to be used as a companion
document to Section 400 of the RICRMP. The guidelines in this handbook incorporate the mandatory
regulations (15 CFR part 930) (Appendix C) into the existing state review process. Relevant federal
regulations are cited throughout the manual.

This manual has been adapted from The Federal Consistency Workbook developed by the National Oceanic
and Atmospheric Administration's (NOAA) Office of Ocean and Coastal Resource Management (OCRM).
Additional information was provided by the Narragansett Bay Project Comprehensive Conservation and
Management Plan and by the Rhode Island Department of Administration, Division of Planning (RIDOP).
Partial funding for this project was provided by the Narragansett Bay Project and NOAA.


*Throughout this document, the terms “effects to” or “affecting” “any coastal use or resource” means
reasonably likely effects to any land or water use or natural resource of the coastal zone.




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                     Federal Consistency Under the Coastal Zone Management Act

Congress passed the CZMA to assist coastal states, including the Great Lake states, and United States
territories in developing state coastal management programs to comprehensively manage coastal uses and
resources. Federal consistency is the CZMA requirement contained in section 307 that federal actions which
affect any land or water use or natural resource of the coastal zone be consistent with the enforceable policies
of a state's or territory's federally approved CMP. It is an important mandatory but flexible mechanism to
resolve potential conflicts between states and federal agencies, by fostering early consultation, cooperation
and coordination.

Under the CZMA section 307, federal agencies and applicants for federal approvals or assistance must
provide state CMPs with consistency determinations or certifications The CMPs then review proposed
federal actions to determine if the actions will be consistent with the state CMP. Federal consistency reviews
are the responsibility of the lead state CMP agency. At the federal level, the National Oceanic and
Atmospheric Administration (NOAA): oversees the states' use of consistency; advocates, when appropriate,
state positions with other federal agencies; provides states, and federal agencies with technical assistance;
mediates consistency disputes between states and federal agencies; and processes appeals to the Secretary of
Commerce.

Federal actions subject to the federal requirement include:

1. Direct federal actions - activities and development projects performed by a federal agency, or contractor
    on behalf of a federal agency. Examples of such actions are: installation of mooring buoys by the
    National Park Service; fisheries management plans by the National Marine Fisheries Service; naval
    exercises; the disposal of excess federal land by the General Services Administration; U.S. Army Corps
    of Engineers (Corps) navigational dredging and beach renourishment projects; outer continental shelf
    (OCS) oil and gas lease sales by the Minerals Management Service (MMS); improvements to military
    bases; naval disposal of radioactive or hazardous waste performed by a private contractor, etc.

2. Indirect federal actions - actions not performed by a federal agency, but requiring federal permits, licenses
    or other forms of federal approval. Examples of such actions are: activities requiring Corps 404 permits;
    Corps permits for use of ocean dump-sites, Nuclear Regulatory Commission permits for nuclear power
    plants, delicensing of nuclear facilities by the Nuclear Regulatory Commission, etc. Also included as a
    subset of this category are plans and licenses for outer continental shelf (OCS) oil and gas exploration,
    development and production.

3. Federal financial assistance to states and territories and to local governments. Examples of this include:
    federal highway administration funds to state, territory and local governments, construction grants for
    wastewater treatment works, hazardous waste management funds, Housing and Urban Development
    grants, etc.

The Coastal Zone Reauthorization Amendments of 1990 (CZARA) amended the CZMA to clarify that federal
consistency applies when any federal activity, regardless of location, affects any coastal use or resource. The
new language broadens the scope of review for states to include federal activities resulting in indirect effects
on the coastal zone and reflects Congressional intent to overturn the effect of Secretary of the Interior v.
California, 464 U.S. 312 (1984). According to the Conference Report, the intent of the new language was to:
        "establish[] a generally applicable rule of law that any federal agency activity (regardless of its
        location) is subject to [the consistency requirement] if it will affect any natural resources, land uses,
        or water uses in the coastal zone. No federal agency activities are categorically exempt from this
        requirement."

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        (H.R. Conf. Rep. No. 964, 101st Cong., 2nd Sess., 968-975, 970 [hereinafter Conference Report]).

The Conference Report on the 1990 amendments provides further clarification as follows:

        "The question of whether a specific federal agency activity may affect any natural resource, land use,
        or water use in the coastal zone is determined by the federal agency. The conferees intend this
        determination to include effects in the coastal zone which the federal agency may reasonably
        anticipate as a result of its action, including cumulative and secondary effects. Therefore, the term
        "affecting" is to be construed broadly, including direct effects which are caused by the activity and
        occur at the same time and place, and indirect effects which may be caused by the activity and are
        later in time or farther removed in distance, but are still reasonably foreseeable."
        (Id. at 970-71)

These changes reflect a clear Congressional intent to eliminate any "categorical exemptions" from CZMA
consistency review, and instead to establish a uniform threshold standard requiring federal agencies to make a
case-by-case, factual determination of reasonably foreseeable effects on any coastal use or resource. The
amendments to section 307(c)(1) were intended to leave no doubt that all federal agency activities meeting
the "effects" standard are subject to the CZMA consistency requirements. (Id. at 970-71; 136 Cong. Rec. H
8076 (Sept. 26, 1990).) Accordingly, the threshold for implementation of federal consistency requirements is
now dependent upon the "effects test". A federal action, regardless of where or when it takes place, or the
type of federal action, is subject to federal consistency if the action is reasonably likely to affect any land or
water use or natural resource of the coastal zone.

Federal consistency is more than just a procedural dictate. Because it is based on effects, not geographic
boundaries, and there are no categorical exemptions from its requirements, federal consistency is a method of
ensuring greater protection of coastal uses and resources. The scope of the federal consistency effects test can
help protect entire ecosystems as well as individual resources and uses. For example, if any activity is to
occur outside the coastal zone, e.g., outside of the state's waters or inland coastal zone boundary, but will
affect coastal water quality, habitat, wetlands, etc., and that activity involves some form of federal action, then
it is subject to the federal consistency requirement and the enforceable policies of the RICRMP. Moreover, a
federal activity taking place outside of Rhode Island, which affects any coastal use or resource of Rhode
Island, is subject to the consistency requirement.

Maximizing the benefits of federal consistency requires that federal agencies provide routine notification to
coastal states of actions, permits, and financial assistance; and requires coastal states to pay regular attention
to proposed federal actions, develop adequate consistency procedures, and notify federal agencies, other state
agencies, and others of a state's assertion of consistency. In essence, federal agencies and others have an
affirmative duty to comply with the federal consistency requirement, but CMPs need to take regular,
consistent, and assertive steps. In Rhode Island, early consultation and cooperation between federal agencies
and the CRMC can help federal agencies and permit applicants avoid costly last minute changes to projects in
order to comply with the RICRMP.


                            Federal Consistency Under Executive Order 12372

Executive Order 12372, issued in July of 1982 under the Demonstration Cities and Metropolitan Government
Act and the Intergovernmental Cooperation Act, establishes a mechanism by which state, local, and
community representatives can review and comment on projects or programs seeking federal financial
assistance. The Executive Order is implemented on the state level under the authority and guidance of
Executive Order 83-11 through the Rhode Island Intergovernmental Review Process (IGR).

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In accordance with the IGR, any state agency, local government, or private organization that is seeking
federal financial assistance to implement an activity within the State must submit grant or cooperative
agreement applications for intergovernmental review. The purpose of this process is to assure compliance
with applicable State Guide Plan elements, conformance to Local Comprehensive Plans, and coordination of
programs within the state. Federal agencies subject to E.O. 12372 are required to "accommodate or explain"
identified inconsistencies with state policies and plans; there is no obligation under E.O. 12372 to alter the
proposed activity.

Rhode Island established its E.O. 12372 review process in 1983. The Associate Director for Planning is
designated as the state's "single point of contact" responsible for the official state "Clearinghouse" for public
information and coordinating the IGR. Approximately 300 federal categorical grant or cooperative agreement
programs are subject to review under E.O. 12372 and E.O. 83-11. While E.O. 12372 is mostly applicable to
federal financial assistance activities, direct federal actions and environmental impact statements required
pursuant to the NEPA, and Corps permit applications are also subject to the IGR.

In most cases, the federal agency subject to IGR submits an application to the Clearinghouse, the Rhode
Island Department of Administration, Division of Planning (RIDOP), for review. Upon receiving
notification, the RIDOP solicits and coordinates comments from appropriate state and local agencies.
Applications are reviewed by state agencies with respect to relevant policies and plans. Agencies also provide
an indication of necessary permits for which the applicant will be responsible. A response as to whether the
proposal is consistent with state and local plans is synthesized by the RIDOP and forwarded to the sponsoring
federal agency. Again, federal agencies subject to E.O. 12372 are required only to accommodate or explain
identified inconsistencies with state plans or programs; there is no obligation on the part of the federal agency
to alter a proposed activity. Meetings are scheduled with all relevant parties, as necessary, to attempt to
reconcile identified inconsistencies. (NBP, CCMP 1990)

Where proposed federal actions may affect any coastal use or resource, the CRMC can, in addition to
reviewing the action under E.O. 12372, separately review the action under section 307 of the CZMA. Since
section 307 requires federal activities to be consistent with the enforceable policies of a state's CMP, rather
than simply that federal agencies accommodate or explain identified inconsistencies, a separate section 307
consistency review by the CRMC is the most effective tool for requiring consistency of federal actions with
the RICRMP. However, the IGR provides an important notification mechanism for CRMC review of many
proposed federal actions and a means for negotiation when a federal action may not require a section 307
review, but about which the CRMC has concerns nonetheless. The relationship between these two consistency
mechanisms and procedures for their implementation are explained more fully in the section of this manual
entitled "Federal Consistency with the Rhode Island Coastal Resources Management Program".


                      The Rhode Island Coastal Resources Management Program

The agency vested with implementation of the state's coastal zone management program in Rhode Island is
the Coastal Resources Management Council (CRMC). This section provides a general description of the
CRMC and the RICRMP as background on how the federal consistency process is implemented in Rhode
Island.

The CRMC was created in 1971 pursuant to § 46-23 of the Rhode Island General Laws (R.I.G.L.) (Appendix
D) for the purpose of managing the coastal resources of the state. The Council, which is comprised of sixteen
members and a support staff, is charged with the responsibility:


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        to preserve, protect, and, where possible, to restore the coastal resources of the state for this and
        succeeding generations through comprehensive and long range planning and management designed to
        produce the maximum benefits for society from such coastal resources; preservation and restoration
        shall be the guiding principle upon which environmental alterations will be measured, judged and
        regulated (R.I.G.L. §46-23-1).

To carry out this mandate, the CRMC is engaged in a wide range of planning and management programs.
Among these programs are:

        ! CRMC's regulatory requirements pursuant to the RICRMP and Special Area Management Plans
           (SAM Plans)
        ! Municipal Harbor Management Program
        ! Rights-of-Way (ROW) Designation Program
        ! Federal consistency reviews
        ! Aquaculture operations management
        ! Submerged lands management

The CRMC adopted the RICRMP in 1976 and received its federal program approval pursuant to the CZMA in
1978. The RICRMP was substantially revised in 1983 and 1990.

The RICRMP is regulatory in nature and is largely structured as a strategic plan for the state's coastal areas. It
is based on six CRMC water types and the shoreline features (type of shoreline). The Council's six water
types are:
        ! Type 1 Conservation Areas;
        ! Type 2 Low Intensity Use;
        ! Type 3 High Intensity Boating;
        ! Type 4 Multipurpose Waters;
        ! Type 5 Commercial and Recreational Harbors; and
        ! Type 6 Industrial Waterfronts and Commercial Navigation Channels (RICRMP §200).

 Maps depicting the water type designations are provided at the end of "the Redbook" which contains the
regulatory requirements of the RICRMP. There are specific policies and prohibitions that correspond to each
water type. Approximately 70% of the state's shoreline is adjacent to either Type 1 or Type 2 waters. The
policies for these water types are designed to protect these areas from commercial development and restrict
the placement of in-water structures. For example, the construction of new marinas is prohibited in Type 1
and Type 2 waters. For other water types, the policies are less restrictive and encourage specific types of
water-dependent uses. For example, policies for Type 3 waters and adjacent upland areas specifically
encourage recreational uses of the shoreline such as marinas, docks, and public launching ramps.

Like the water types, the CRMC also has policies related to shoreline features. The CRMC defines shoreline
features as:

        ! Coastal Beaches;
        ! Barrier Islands and Spits;
        ! Coastal Wetlands;
        ! Coastal Headlands, Bluffs, and Cliffs;
        ! Rocky Shores;
        ! Manmade Shorelines; and,


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        ! Dunes.
        (RICRMP §210)

There are specific policies designed to protect each shoreline feature and manage upland development. For
example, the CRMC has policies which severely restrict and prohibit any alterations to coastal wetlands,
beaches, and dunes. In some instances, the coastal features have been further classified, e.g., the CRMC has
policies that pertain to developed, moderately developed, and undeveloped barrier beaches.

The RICRMP also contains policies that apply to specified types of activities and their proposed location vis-
a-vis adjacent water types and shoreline features (see RICRMP §300). For example, RICRMP section 300.4
addresses recreational boating facilities and contains the CRMC's marina regulations. In addition to the
regulations contained in the RICRMP, the CRMC has adopted by reference several guidance manuals which
have the force of regulation including: Rhode Island Soil Erosion and Sediment Control Manual ; Rhode
Island Stormwater Design and Installation Standards Manual ; and the CRMC's Buffer Management
Guidance . The CRMC has also developed SAM Plans, two of which are regulatory in nature. These SAM
Plans and their regulatory applications are described in the following section. Lastly, the RICRMP also
includes specific policies for the development of power generating facilities which have the potential to
impact the coastal zone and its resources, regardless of their proposed location, which are contained in the
"Energy Amendments."


                                      The Rhode Island Coastal Zone

The seaward extent of Rhode Island's coastal zone boundary is the three mile outer limit. The CRMC's
jurisdiction includes all tidal waters within state jurisdiction including the coastal ponds, some of which are
not tidally influenced but are associated with a barrier beach system.
The inland extent of Rhode Island's coastal zone boundary is a tiered system which is dependent on the type
and location of an activity. This approach to jurisdiction with regard to the implementation of the federal
consistency requirement is most easily understood in terms of three tiers. Policies and standards governing
activities within these three tiers are contained in the RICRMP and the Council's SAM Plans.

The first tier of Rhode Island's coastal zone generally extends 200 feet inland of a coastal feature. Within this
area the CRMC has authority over any development activity, including maintenance. Also included in this
first tier are watersheds for which a SAM Plan has been adopted. For the purposes of federal consistency,
those watersheds are the Salt Pond region of Rhode Island's southern shore, the Narrow River watershed, and
the SAM Plans that have been developed for the Providence Harbor waterfront and the Pawcatuck River
Estuary. Within these SAM Plan areas, the CRMC has jurisdiction over, and specific enforceable policies
governing, large development projects (developments requiring one or more acre of parking or a 2,000
gallon/day capacity septic system, and subdivisions of six units or more). The CRMC also has specific land
use designations and associated policies and prohibitions governing development within these poorly flushed
areas.

The second tier of the Rhode Island's coastal zone boundary extends inland to include Rhode Island's 21
coastal communities. Within this second tier, all federal (as well as state) activities must be consistent with
the RICRMP. Although the CRMC generally does not issue permits inland of the first tier of jurisdiction
unless the activity is one over which the CRMC has authority statewide, for the purposes of federal
consistency, this area is considered Rhode Island's coastal zone. Therefore, federal activities, including
federal licenses, permits and financial assistance, which affect any coastal use or resource of these
communities, must be consistent with the RICRMP and any applicable SAM Plan.


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The third tier of CRMC jurisdiction encompasses the entire state for certain activities which the state has
predetermined may affect coastal resources or uses regardless of location within the state. These activities
are: energy generation, transfer processing, or storage; chemical processing; minerals extraction; sewage
treatment and disposal; and solid waste disposal. Where the Council has determined that a proposed
aforementioned activity will affect any coastal use or resource that activity is subject to the federal
consistency requirement and Council review. However, the CRMC has the authority to review any activity
when the activity will affect any coastal use or resource. The CRMC, with the concurrence of NOAA, may
determine that any federal activity meets the "effects test" and may therefore be subject to the federal
consistency requirement, regardless of its location in the state.


                                             CRMC's Review Process

Generally, applicants proposing an activity within the first tier of Rhode Island's coastal zone must apply for a
CRMC Assent (CRMC permits are referred to as Assents). When an Assent from the CRMC is required, and
the proposed activity involves either a direct or indirect federal action, the issuance of an Assent constitutes
CRMC concurrence with an applicant's certification that the project is consistent with the RICRMP. In all
cases, however, the issuance of a CRMC Assent and the certification or determination1 of federal consistency
remain distinct, even when the two processes overlap. Activities that require federal approval and are
reasonably likely to affect any coastal use or resource, but which do not require a CRMC Assent, remain
subject to the consistency requirement.

There are several types of Assents issued by the Council. They include:

         ! Findings of No Significant Impact (FONSIs) (RICRMP §110.4)
         ! Maintenance Assents (RICRMP §300.14)
         ! Category A Assents (RICRMP §110.1)
         ! Category B Assents (RICRMP §110.2)
         ! Emergency Assents (RICRMP §180)

In addition, applicants can apply for a Preliminary Determination where the CRMC reviews the project as
proposed and provides the applicant with comments such as identifying applicable policies and standards
prior to submitting a formal application to the Council. All of the Assents are processed administratively with
the exception of Category B Assents and some particularly complex or contentious Category A Assents. All
Category B Assents are subject to public notice (as are some Category A Assents) and have a public hearing
before the Council which makes a final decision. Category A applications are never denied administratively,
but are brought before the Council for a decision.

Tables contained in the RICRMP are used to determine if an activity is reviewed as a Category A or B Assent.
 These tables also give an indication as to whether a proposed activity is prohibited. If an activity is
prohibited it requires a "Special Exception" from the Council in accordance with the burdens of proof
contained in RICRMP §130. If a proposed activity is not explicitly prohibited, but the applicant cannot meet

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  There are some subtle yet important differences in the federal consistency process and its associated terminology as it
applies to direct and indirect federal activities. Federal agencies conducting any direct federal activity are required to
make a "determination" of consistency with the enforceable policies of the RICRMP with which the CRMC may agree or
disagree. Applicants for federal permits or licenses are required to make a "certification" of consistency with the
RICRMP to the federal agency providing the license, permit. A copy of the certification of consistency is then forwarded
to the CRMC for review whereupon the CRMC may either concur or object.


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 the specific policies and standards contained in the program, then the applicant must obtain a variance in
 accordance with the burdens of proof outlined in RICRMP §120. Some variances can be processed
 administratively.

 Federal consistency determinations and certifications are evaluated using the enforceable policies and
 standards that would apply to a CRMC permit application for that particular project type (see the RICRMP for
 specific policies and standards). Accordingly, the federal agency conducting, licensing or supporting a
 particular project subject to the RICRMP would be required to ensure that the applicable policies and
 standards contained in the RICRMP will be met. Where the CRMC does not have specific standards for the
 proposed activity, the CRMC can rely on its legislative mandate and associated general enforceable policies,
 and on relevant policies contained in the State Guide Plan, which is also part of Rhode Island's approved
 CMP.

 Federal consistency determinations and certifications are subject to the same level of review as outlined
 above. For example, minor repair work to a structure on federal lands would require a consistency
 determination with a level of review equal to that which would be required under a maintenance permit
 application. On the other hand, a federally supported large road project within any one of Rhode Island's 21
 coastal communities would be subject to a level of review equal to that of a Category B application.


                                     Federal Consistency Under the
                         Rhode Island Coastal Resources Management Program:
                                     Procedures and Requirements

 Application of the federal consistency requirement contained in section 307 of the CZMA is primarily
 dependent upon the effects the proposed activity has on any coastal use or resource. In order to assist federal,
 state and local agencies in determining whether a proposed activity is subject to the federal consistency
 requirement, the CRMC has listed, with the concurrence of NOAA's Office of Ocean and Coastal Resource
 Management (OCRM), certain activities, both direct and indirect, reasonably likely to affect any coastal use
 or resource (see Tables 1, 2 and 3 contained in Appendix E, RICRMP Section 400: Federal Consistency). It
 is important to note that these lists are not exhaustive and that any federal activity which affects any coastal
 use or resource is subject to the federal consistency requirement. Accordingly, the CRMC monitors those
 federal activities within and outside of the coastal zone which, although not specifically listed, affect any
 coastal use or resource of Rhode Island.

 In general, federal agencies conducting any activity within the first or second tier of Rhode Island's coastal
 zone affecting any coastal use or resource are subject to the consistency requirement. Federal agencies
 conducting activities or third parties contracted to conduct such activities for a federal agency are in most
 cases not required to obtain a CRMC Assent. In cases where a federal agency is permitting, licensing or
 supporting a non-federal project (i.e., an indirect federal activity) within the first tier of the CRMC's
 jurisdiction, the applicant is responsible for obtaining the required CRMC Assent. Here, the issuance of a
 CRMC Assent constitutes concurrence with the certification of consistency. It is important to keep in mind
 that some activities, including many federally supported activities, are often subject to both the CRMC permit
 process as well as the federal consistency requirement. The CRMC has taken steps to ensure that these
 reviews are not duplicative, yet they remain distinct.

 There is no categorical exemption for any federal activity. If a federal activity affects any coastal use or
 resource then consistency applies. However, the President may exempt a specific federal activity (but not a
 class of federal activities) under certain circumstances. A direct federal activity affecting any coastal use or
 resource must be consistent to the maximum extent practicable. This requires federal activities to be fully

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 consistent with the RICRMP unless compliance is prohibited based upon the requirements of existing law
 applicable to the federal agency's operation. See 15 CFR § 930.32. Thus, a direct federal activity may
 deviate from full consistency if legally required (as opposed to a general notion or claim of national security).
  Finally, federal agencies may deviate from full consistency with an approved program when such deviation is
 justified because some unforeseen circumstances, i.e., an emergency situation arising after the approval of the
 management program, present the federal agency with a substantial obstacle that prevents complete adherence
 to the approved program.

 The following sections provide a general discussion of the CRMC's federal consistency requirements and
 procedures under section 307 of the CZMA and, where relevant, E.O. 12372. Specific enforceable policies
 associated with various water types, coastal features and activities are contained in the RICRMP.
 Requirements and procedures particular to consistency determinations and certifications can be found in
 section 400 of the RICRMP (Appendix E). It remains the responsibility of any federal agency and permit
 applicant to consult with the CRMC and the RICRMP to ensure that all federal consistency requirements are
 met.

 To facilitate a smoother consistency review, it is best for the federal agency, the CRMC, and the applicant (if
 not the federal agency) to discuss a proposed activity as early in the process as possible. The CRMC and
 federal agencies can agree, at any time, to more flexible consistency review procedures (providing public
 participation requirements are still met) when circumstances require. Regardless of what procedures are
 ultimately agreed upon and used, consistency determinations and certifications are, in all cases, subject to the
 public notice, hearing, and appeals provisions of Section 400 of the RICRMP and the Code of Federal
 Regulations (15 CFR Part 930). All consistency determinations and certifications should be sent to the
 following address as early in the planning process as possible:

                                       Federal Consistency Coordinator
                                    Coastal Resource Management Council
                                    Oliver H. Stedman Government Center
                                            4808 Tower Hill Road
                                          Wakefield, RI 02879-1900
                                            Phone: (401) éèí-ííéð



                                       Direct Federal Agency Activities

 Federal agencies proposing an activity need to follow the requirements of CZMA section 307(c)(1), (2)(16
 USC §1456(c)(1), (2)) and 15 CFR part 930, subpart C. The Rhode Island counterpart to these regulations is
 contained in RICRMP section 400 (Appendix E). The RICRMP procedures and regulations on federal
 consistency requirements are derived directly from these two sources and are discussed below.

 Federal agencies proposing activities, whether within or outside Rhode Island's coastal zone, must first
 determine if the activity is reasonably likely to affect any coastal use or resource. As guidance, federal
 agencies are directed to Table 1 of RICRMP section 400 (Appendix E) for a list of direct federal activities
 which the CRMC has determined affect Rhode Island's coastal uses or resources. All federal development
 projects taking place within the coastal zone are presumed to affect coastal uses or resources and are therefore
 subject to federal consistency requirements. The CRMC maintains jurisdiction, both in permitting and in
 consistency determinations, over power generation facilities statewide due to their predetermined potential to
 affect coastal uses and resources. This is not to say that every power generation facility in the State will
 impact coastal uses and resources. It is possible that a federal agency would undertake the development of a

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 power generation facility which would have no effects on coastal uses or resources. In such a case, the
 federal agency would submit a "negative determination." Also, effects are not limited to direct effects but can
 also include cumulative and secondary effects. Once the federal agency has determined that effects are
 reasonably foreseeable, the federal activity must be conducted in a manner that is consistent to the maximum
 extent practicable with the RICRMP.

 The CRMC monitors, through the E.O. 12372 process, the NEPA process, and other mechanisms "unlisted"
 federal activities to ensure that no federal activity taking place within or outside of the coastal zone (or any
 other previously defined area subject to the consistency requirement), which affects any coastal use or
 resource, is undertaken without a review and determination of consistency with the RICRMP. For unlisted
 activities, the federal consistency trigger is reasonably foreseeable effects, regardless of the location of the
 activity.

 Review Process

 Early Coordination:
 The initial step for federal consistency review of any direct federal activity should be to contact the CRMC to
 inform the State of the proposed activity. This early coordination will help identify initial state concerns and
 applicable enforceable policies. If necessary, the Council will arrange an "early coordination" meeting at
 which the activity is discussed by the relevant authorities to identify and, whenever possible, to resolve any
 issues that are likely to arise prior to the submission of a federal consistency determination.

 Federal Agency Responsibility:
 Federal agencies must provide the Council with consistency determinations for all development projects
 located within Rhode Island's coastal zone and for other activities, whether within or outside Rhode Island's
 coastal zone, if an activity is reasonably likely to affect any coastal use or resource . For guidance, Table 1
 provides a list of those activities presumed to have an effect. It is possible that a listed activity, in certain
 circumstances, will not affect any coastal use or resource. In those cases, federal agencies must submit a
 negative determination to the CRMC.
 Consistency determinations must be in writing, and submitted at the earliest practicable time in the planning
 process. Unless both the federal and state agencies agree to a different schedule, notification must be
 provided at least 90 days prior to the point at which alternatives to the proposed action can no longer
 reasonably be considered. 15 CFR § 930.34 (b). The consistency determination must address effects and
 indicate the federal agency’s assessment of its consistency, or lack thereof, with applicable provisions of the
 RICRMP. 15 CFR § 930.39 (a).


 Unlisted, Unreported, Repeated and Phased Activities:
 In the event that the Council identifies an activity or proposed activity which it considers is subject to a
 consistency review by the CRMC, but which is either not listed or not proposed to be located in the coastal
 zone, the Council will notify the appropriate federal agency within 45 days from receipt of notice of the
 unlisted Federal activity that the activity is subject to a consistency determination. 15 CFR § 930.35 (b). If
 the Federal agency decides that a consistency determination is not required for the activity in question, i.e., no
 effects on any land or water use or natural resource of the coastal zone is reasonably likely, then the agency
 shall provide the Council with a negative determination at least 90 days before final approval of the activity.
 15 CFR§ 930.35 (d). The unlisted procedures and 45 day notice process do not relieve a federal agency from
 providing the state with a consistency determination for all activities which the federal agency determines are
 reasonably likely to affect any coastal use or resource. 15 CFR § 930.35 (c).



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 Where a federal agency will be conducting incremental actions that are repetitive or periodic, substantially
 similar in nature, and do not affect any coastal use or resource when performed separately, the federal agency
 may develop a general consistency determination. 15 CFR § 930.37 (b). However, the federal agency must
 consider, when making its determination, any cumulative and secondary effects resulting from the
 activity(ies).

 In cases where major federal decisions related to a proposed development project will be made in phases
 based upon developing information, a consistency determination will be required for each major decision. 15
 CFR§ 930.37 (c).

 Necessary Information and Data:
 A consistency determination must be accompanied by data and information sufficient to support the
 determination. The data should address effects and consistency with the specific policies, standards, and
 requirements contained in the RICRMP, any applicable SAM Plan, and, when appropriate, applicable
 elements of the State Guide Plan as specifically as possible to ensure a timely and efficient consistency
 review. 15 CFR § 930.39 (a). The consistency determination will be reviewed at a level equal to the review
 to which the proposed activity would be subject as a CRMC permit application. Federal agencies are directed
 to the matrices and §300 of the RICRMP as well as any applicable SAM Plan to determine whether a
 proposed activity is allowable, the level of review to which it is subject, and specific policies, standards and
 information requirements. Depending upon the complexity and potential impacts of the proposed activity,
 consistency determinations range from very brief to detailed documents. Generally, the following is
 considered to be the minimum necessary to be provided:

 ! A detailed description of the site, nature, and extent of the proposed activity and its associated facilities and
    services, their effects on any coastal use or resource, and the comprehensive data and information
    sufficient to support the agency’s determination including appropriate facility development plans,
    engineering drawings, maps, diagrams, technical data, and other relevant material.

 ! A brief assessment indicating how the activity will be undertaken in a manner consistent to the maximum
   extent practicable with the RICRMP.

 If a federal agency asserts that compliance with the RICRMP is prohibited, it shall clearly describe in its
 consistency determination the legal authority which it believes limits the federal agency's ability to comply
 with the applicable requirements of the RICRMP. 15 CFR § 930.32(a).

 Council Review and Response
 Each consistency determination shall be reviewed by the Council. The Council shall notify federal agencies
 within 45 days in writing of its agreement or disagreement with the consistency determination and supporting
 documentation as described above. This time period shall begin once the Council has received all the
 necessary information and data. The Council may, where necessary, request additional time to evaluate and
 respond to federal agency determinations pursuant to CFR § 930.42 (b). Federal agencies must approve one
 request for an extension period of fifteen days. The federal agency may presume agreement with its
 consistency determination if the Council fails to respond or to request an extension within the 45 day time
 frame. Final federal agency action may not be undertaken sooner than 90 days from the issuance the
 consistency determination to the State. 15 CFR § 930.41

 Where the Council disagrees with an agency's consistency determination it will describe how the activity is
 inconsistent with applicable policies, standards, and requirements contained in the RICRMP. It will further
 recommend alternatives to or modifications of the proposed action that would render it consistent to the


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 maximum extent practicable. A copy of such notification is forwarded to the Secretary of Commerce. 15
 CFR § 930.42 (a). If the disagreement is based upon a finding that the agency has failed to provide sufficient
 information, the Council shall describe the nature of and the need for such information. A copy of such
 notification shall be forwarded to the Secretary of Commerce. 15 CFR § 930.42 (a) & (b).

 Conflict Resolution

 It is the Council's policy to resolve state-federal disagreements through direct negotiation and consultation
 with the affected agency in the event of the Council's objection to a federal agency consistency determination.
  If the conflict persists, the federal agency or the Council, may request formal mediation through the Secretary
 of Commerce as provided for in 15 CFR part 930 subpart G or informal negotiation through NOAA's Office
 of Ocean and Coastal Resource Management. Dispute settlement mechanisms are discussed more fully at the
 end of this chapter. Specific information pertaining to mediation is located in RICRMP Section 400.

 Monitoring of Activities for Continuing Consistency

 In the event that the Council determines that an activity previously determined to be consistent with the
 RICRMP is not being conducted in such a manner or is having such effects on the coastal zone so as to be
 inconsistent with the Program, it shall request the agency to take appropriate remedial action. The request
 shall include necessary supporting information and a proposal for the recommended action. 15 CFR § 930.44.




                                     Federal License or Permit Activities

 A private individual or business, a state or local government agency, or any other type of non-federal entity,
 applying to the federal government for a required permit or license or any other type of an approval or
 authorization, needs to follow the requirements of CZMA section 307(c)(3)(A)(16 USC §1456(c)(3)(A)) and
 15 CFR part 930, subpart D. The Rhode Island counterpart to these regulations is contained in RICRMP
 section 400. The RICRMP procedures and regulations on federal consistency requirements are derived
 directly from these two sources and are discussed below.

 Applicants for federal licenses, permits, and other approvals for activities, whether within or outside the
 coastal zone, affecting any coastal use or resource, must certify that the proposed activity will be conducted in
 a manner that is consistent with the enforceable policies of the RICRMP. All federally licensed, permitted,
 and approved activities occurring in the coastal zone are deemed to affect coastal uses or resources if the state
 has "listed" the particular federal license or permit program in its coastal management program document.
 (See Table 2 of RICRMP section 400 contained in Appendix E.) Federal permits related to OCS oil and gas
 activities are treated similarly, but are covered separately in a subsequent section.

 For a listed federal permit or license involving an activity occurring in the coastal zone, i.e., within any one of
 Rhode Island's 21 coastal communities, the applicant must submit a CZMA federal consistency certification
 to the licensing or permitting federal agency and a copy of that certification to the CRMC. In addition to the
 certification, the applicant must provide the state with the necessary data and information to allow the state to
 assess the project's effects. This information will normally be contained in the application to the federal
 agency, but may include other information required by the CRMC (e.g., necessary state permits). The
 CRMC's review time starts when the certification and the necessary information and data are received. If the
 CRMC concurs with an applicant's certification, then the federal agency may issue its approval. If the CRMC
 objects, the federal agency may not issue its license or approval until the objection is resolved or overridden

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 by the Secretary of Commerce on appeal by the applicant. Concurrence is presumed in the absence of an
 objection within six months following commencement of the CRMC's review.

 As previously noted, in cases where the license or permit activity is also subject to CRMC permit
 requirements, the issuance of a valid CRMC Assent or license shall constitute concurrence with an applicant’s
 certification of consistency with applicable provisions of the RICRMP. Failure to obtain a CRMC Assent or
 license shall, in and of itself, be deemed conclusive evidence of a state determination of inconsistency and no
 additional action, determination, or notice shall be required of the state.

 Federal agencies may not approve any license or permit for which requisite state permits or licenses required
 under the various provisions of the RICRMP have not been obtained. “Requisite state permits and/or
 licenses” as referenced in the RICRMP Section 400 and identified in RICRMP Section 300 (Activities under
 Council Jurisdiction) shall include all Council permits and/or other state permitting actions which, under the
 provisions of Title 46, Chapter 23 of the RI General Laws must be undertaken consistently with the policies,
 standards, and requirements contained in the Rhode Island Coastal Resource Management Program.

 Review Process

 Early Coordination:
 The initial step for federal consistency review of any federal license or permit should be for the applicant to
 inform the CRMC of the proposed activity and determine whether the proposed activity is or may be subject
 to the federal consistency requirement. This early coordination will answer questions concerning whether a
 review is necessary and the scope of the review. If necessary, the Council will arrange an "early
 coordination" meeting at which the activity is discussed by the applicant and relevant state authorities to
 identify state concerns and relevant enforceable policies and, whenever possible, to resolve any issues that are
 likely to arise.

 Applicant Responsibility:
 An applicant for a listed federal license or permit must submit to the Council a copy of the application along
 with all supporting information and a copy of the certification of consistency provided to the licensing or
 permitting federal agency. The Council will advise the applicant of the receipt of the certification and the
 date of receipt of the complete information package. The Council’s review of an applicant’s consistency
 certification begins on the receipt date. 15 CFR § 930.60(a). It is important to remember that the proposed
 activity, depending on its nature and location, may be subject to CRMC permit requirements.

 Unlisted or Unreported Activity:
 With the assistance of federal agencies, the Council will monitor unlisted federal license and permit activities
 through the E.O. 12372 Clearinghouse, through review of NEPA environmental impact statements and
 through other such avenues as provided to it by law. An applicant may be required to submit a consistency
 certification to the CRMC for unlisted federal permits or licenses when the proposed activity affects any
 coastal uses or resources, whether taking place within or outside of the coastal zone. In such cases, the
 CRMC must notify the applicant, the relevant federal agency, and OCRM that it intends to review the
 activity. The state must make this notification within 30 days of receiving notice of the activity, otherwise the
 state waives its consistency rights. The waiver does not apply where the CRMC does not receive notice.

 OCRM must approve the state's consistency review of an unlisted federal permit or license. The applicant and
 the federal agency have 15 days from receipt of a request by the CRMC to review the activity to provide
 comments to OCRM. OCRM will make a decision usually within 30 days of receipt of the state's request.
 The sole basis for OCRM's decision will be whether the proposed activity can be reasonably expected to


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 affect any land or water use or natural resource of the coastal zone. The federal agency may not approve the
 activity until the consistency process is complete.

 If OCRM does not approve the Council's request, the applicant does not need to submit a consistency
 certification. If OCRM approves the Council’s decision, the applicant shall submit an amended application to
 the federal agency and the Council containing a consistency certification and necessary supporting
 information. Council concurrence may be presumed in the absence of a Council objection within 6 months
 from the identification of the need for a consistency review or within 3 months from the receipt of the
 applicant’s consistency certification and information, whichever period terminates last. 15 CFR § 930.54 (d)
 &(e).

 Necessary Data and Information:
 The applicant shall provide a statement of consistency in its permit or license application to the federal
 agency. The consistency certification shall read: “The proposed activity complies with the Rhode Island’s
 approved Coastal Resource Management Program and will be conducted in a manner consistent with such
 Program.” A copy of the statement shall also be provided to the Council along with supporting information.
 15 CFR § 930.57. Applicants are directed to the matrices and §300 of the RICRMP as well as any applicable
 SAM Plan to determine whether a proposed activity is allowable, the level of review to which it is subject,
 and applicable policies, standards and information requirements. Further, applicants are encouraged to
 consult with the Council when preparing the information and data package to ensure consistency and avoid
 unnecessary delay. 15 CFR § 930.56. At a minimum, the following information must be provided:

 ! A detailed description of the site, nature, and extent of the proposed activity and its associated facilities and
    services, their effects on any coastal use or resource, and the comprehensive data and information
    sufficient to support the agency’s certification including maps, diagrams, technical data and other relevant
    material. 15 CFR § 930.58 (a) (1).

 ! A brief assessment relating the probable coastal zone effects of the proposal and its associated facilities to
    the relevant elements of the RICRMP. 15 CFR § 930.58 (b) (c).

 ! Based upon the above assessment, an analysis indicating that the proposed activity, associated facilities and
    their effects are consistent with the RICRMP. 15 CFR § 930.58 (a) (4).

 Whenever a proposed federal activity requires a CRMC Assent, the informational requirements for federal
 consistency shall be the same as, and will be satisfied by, the requirements for the CRMC Assent. 15 CFR §
 930.59.

 Council Review and Response:
 Each consistency certification shall be reviewed by the Council. The Council will notify appropriate federal
 permit or license issuing agencies and applicants within 6 months from receipt of the consistency
 certification. 15 CFR § 930.64 (a). Whether the Council concurs with the consistency certification or not, it
 will notify the federal agency and the applicant of its decision as early as possible. Also, in cases where
 multiple federal permits or licenses are required, the Council will work with the applicant and relevant federal
 agencies to facilitate the review process. The Council shall review the applicant’s consistency certification
 for adequacy and shall request from the applicant in writing any required additional information. The request
 for information in addition to that described above (Necessary Data and Information) will not stop this six
 month review period. CRMC concurrence is conclusively presumed in the absence of objection within 6
 months following the commencement of Council review (i.e., receipt of a completed application). 15 CFR §
 930.63 Where the Council finds issuance of a federal permit and/or license to be inconsistent with applicable


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 provisions of the RICRMP or where it finds that insufficient information to make such a determination has
 been submitted by the applicant, it will indicate the nature of the inconsistency with reference to specific
 provisions of the RICRMP and notify the federal permit or license issuing agency, the applicant and the
 Secretary of Commerce. Alternatives to, or modifications of, the proposed action which would render it
 consistent with the RICRMP will be recommended. 15 CFR § 930.64 (b).

 Conflict Resolution

 Upon receipt of a CRMC objection, the federal agency may not grant the federal license or permit, except
 where the applicant appeals the objection to the Secretary of Commerce, and the Secretary overrides the
 CRMC’s objection. Information pertaining to Secretarial appeals is located in Section 400 and 15 CFR part
 930, subpart H. However, the CRMC will make every effort to work with the relevant federal agency and the
 applicant to reach an agreement which would allow the activity to be conducted in a manner consistent with
 the RICRMP. Specific dispute settlement mechanisms are described in the last section of this manual.

 Monitoring for Continuing Consistency

 In the event that the Council determines that an activity previously determined to be consistent with the
 RICRMP is not being conducted in such a manner or is having such effects on any coastal use or resource so
 as to be inconsistent with the Program, it shall request the federal agency permitting or licensing the activity
 to take appropriate remedial action. The request shall include necessary supporting information and a
 proposal for the recommended remedial action. A copy of the request will be sent to the applicant. The
 Council may request secretarial mediation in accordance with 15 CFR part 930, subpart G (see section 400) if
 the disagreement is not resolved within a reasonable time.


                                   Outer Continental Shelf Exploration,
                                  Development, and Production Activities

 A person applying to the federal government for outer continental shelf (OCS) exploration, development and
 production activities needs to follow the requirements of CZMA section 307(c)(3)(b)(16 USC
 §1456(c)(3)(B)) and 15 CFR part 930, subpart E.

 Any person who submits to the Department of the Interior an OCS plan for the exploration of, or development
 of, or production from, any area leased under the Outer Continental Shelf Lands Act, must certify to the
 CRMC that any activity proposed in such OCS plans which require any federal licenses, permits, or other
 approvals, will be conducted in a manner consistent with the RICRMP. The process and requirements for this
 section generally mirror those of federally licensed or permitted activities discussed above. In addition, the
 CRMC has specific informational requirements pertaining to consistency certifications for OCS exploration,
 development and production activities which can be obtained by contacting the CRMC.


                            Federal Assistance to State and Local Governments

 A state or local government agency (or any related public entity) applying for federal financial assistance
 needs to follow requirements of CZMA section 307(d)(16 USC §1456(d)) and CFR part 930, subpart F. The
 Rhode Island counterpart to these regulations is contained in RICRMP section 400.

 The federal agency may not grant any federal assistance if the CRMC objects to a state or local government
 agency's application for federal financial assistance. A list of federal financial assistance programs which

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 may support activities subject to these requirements is contained in Table 3 (see RICRMP section 400,
 Appendix E). However, the exclusion from this list of particular federal funding program does not relieve the
 state agency or local government applicant from complying with the federal consistency requirement if the
 activity to be funded could affect any coastal use or resource.

 Review Process

 The CRMC review is conducted pursuant to E.O. 12372 (see page 6). Activities supported by federal
 assistance programs listed in Table 3 of Appendix E are subject to review under the consistency requirement:
 that is, federal agencies providing assistance must not merely accommodate or explain inconsistencies, but
 may not provide the requested assistance until inconsistencies with the RICRMP have been resolved. Further,
 if the CRMC is informed of a request for financial assistance to support an activity which it considers to be
 subject to the federal consistency requirement, but which is not listed in Table 3, the CRMC can advise the
 federal agency of its intent to review the application under federal consistency. Generally, the CRMC is
 notified of an application for federal financial assistance by any unit of state or local government through
 Rhode Island's Intergovernmental Review Process established under E.O. 12372 and E.O. 83-11. Where the
 federal agency disagrees with the CRMC's intent to review, it may request mediation by the Secretary of
 Commerce.

 The CRMC is then given 15 days to provide comments concerning the application. Within this time the
 CRMC may concur with or object to the consistency notice, or request additional information. Where the
 CRMC objects to the granting of financial assistance due to the proposed activity's effects on any coastal use
 or resource, the CRMC will assist the applicant in altering the proposed activity so as to be consistent with the
 RICRMP.

 Conflict Resolution

 In the event that the CRMC objects to the awarding of federal financial assistance to any unit of state or local
 government, the CRMC will notify the applicant and the relevant federal agency. The CRMC will then make
 every effort to resolve inconsistencies with the applicant and the federal agency. If no resolution can be
 agreed upon, the applicant may, within thirty days of receiving notice of this objection, file a notice of appeal
 with the Secretary of Commerce. Procedures for such an appeal are discussed below.

 Monitoring of Activities for Continuing Consistency

 In the event that the Council determines that an activity previously determined to be consistent with RICRMP
 is not being conducted in such a manner or is having such effects on the coastal zone so as to be inconsistent
 with the Program, it will request the federal granting agency take appropriate remedial action. The request
 will include necessary supporting information and a proposal for the recommended remedial action. A copy
 of the request will be sent to the applicant 15 CFR § 930.100.


                                       Dispute Settlement Mechanisms

 Mediation by the Secretary of Commerce

 In the event of a serious disagreement between the CRMC and a federal agency over any aspect of the federal
 consistency requirement, either party may request that the Secretary of Commerce formally mediate the
 dispute. All parties must agree to participate in the mediation, but agreement to participate is non-binding and
 either party may withdraw from the mediation at any time. Secretarial mediation is a formal process that

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 includes a public hearing, submission of written information, and meetings between the parties, upon which a
 hearing officer, appointed by the Secretary, will propose a solution.

 Secretarial mediation may be used for disputes under any of the four consistency review types: direct federal
 activities, federally licensed or permitted activities, OCS license and permit activities, and federally funded
 activities. However, the request can only be made by the head of a federal agency or the Governor or CRMC.
  Exhaustion of the mediation process is not a prerequisite to judicial review. Specific policies and
 requirements for secretarial mediation are contained in Section 400 of the RICRMP.

 Informal Negotiation of Disputes

 The availability of formal secretarial mediation or litigation does not preclude the parties from informally
 negotiating the dispute through OCRM or another facilitator. OCRM has successfully filled the negotiator
 role in the past and most disputes are addressed through this method. Either party may request OCRM
 involvement, and of course participation is non-binding.

 Appeals to the Secretary of Commerce

 An applicant for a federal license or permit, including those described in detail in an OCS plan, or a federal
 funding activity, may appeal the CRMC's objection to the Secretary of Commerce. The Secretary may
 override the state's objection because the activity is consistent with the objectives or purposes of the CZMA,
 or is necessary in the interest of national security. The Secretary will only review the appeals on these
 grounds. The Secretary will not review other factors, e.g., whether the objection is in accordance with the
 state law. However, the Secretary of Commerce does look to see that the objections are based on enforceable
 policies. If the objection is based on enforceable policies, then Commerce assumes the objection is valid. If
 the Secretary overrides the state's objection, the authorizing federal agency may permit or fund the activity. A
 secretarial override does not obviate the need for an applicant to obtain any state required permits or
 authorization. The Secretarial appeal is an administrative remedy and generally must be sought prior to
 litigation. The appeal process takes approximately one year.




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 Rhode Island Coastal Resources Management Program
 Section 400. Federal Consistency

 A. Introduction

 The following sections detail the Council's federal consistency requirements and procedures. They have been
 derived directly from federal regulations implementing the Coastal Zone Management Act (CZMA) (16 USC
 §§ 1451-1464) and are provided in the Code of Federal Regulations (15 CFR part 930). Any changes to those
 regulations supersede Rhode Island's state-level counterpart as contained in the following sections. The
 Council's Federal Consistency Manual contains background and explanation on the CRMC's federal
 consistency process and requirements and should be consulted for more information.

 The federal consistency requirement, as provided for in section 307 of the CZMA, is an important function of
 state coastal management programs. Under section 307, federal agencies conducting an activity which is
 reasonably likely to affect any land or water use or natural resource of the coastal zone, are required to do so
 in a manner consistent, to the maximum extent practicable, with the enforceable policies of the state's coastal
 management program developed and implemented under the CZMA. Enforceable policies are those policies
 which are legally binding through constitutional provisions, laws, regulations, land use plans, ordinances, or
 judicial or administrative decisions, by which a State exerts control over private and public land and water
 uses and natural resources in the coastal zone. 16 USC § 1453(6a). Federal permits and licenses, including
 those associated with outer continental shelf (OCS) plans, and grant-in-aid programs to local or state
 governments and related public entities, which are reasonably likely to affect any land or water use or natural
 resource of the coastal zone must also be consistent with the state's coastal management program.

 As part of Rhode Island's coastal management program, both the geographical scope of the state's coastal zone
 and the enforceable policies applicable to the coastal zone are defined and have been approved by the
 National Oceanic and Atmospheric Administration (NOAA). Rhode Island's approved coastal zone, for the
 purposes of exercising the federal consistency requirement of the CZMA, includes the area encompassed
 within the state's seaward jurisdiction (three miles) to the inland boundaries of the state's 21 coastal
 communities. The Rhode Island Coastal Resources Management Program (RICRMP), which includes this
 "Redbook," the Council's Special Area Management Plans, the "Energy Amendments" which address power
 generation facilities statewide, adopted State Guide Plan elements, and their implementing tools, together
 make up Rhode Island's federally approved coastal program. Those provisions of these programmatic
 documents and regulations which meet the definition of enforceable policies under the CZMA constitute the
 enforceable policies with which federal activities must be consistent in Rhode Island.

 In order to assist federal agencies in determining whether a proposed activity is subject to the federal
 consistency requirement, and in accordance with the CZMA, the CRMC has listed activities, both direct and
 indirect, reasonably likely to affect any land or water use or natural resource of the coastal zone (Tables 1, 2
 and 3). It is important to note that these lists are not exhaustive and that any federal activity reasonably likely
 to affect any land or water use or natural resource of the coastal zone may be subject to the federal
 consistency requirement. Therefore, any federal activity, whether direct or indirect, which is reasonably
 likely to affect any land or water use or natural resource of any of the state's 21 coastal communities is subject
 to consistency with the enforceable policies of the RICRMP.

 There are some subtle yet practical differences in the federal consistency process and its associated
 terminology as it applies to direct and indirect federal activities. As an example, federal agencies conducting
 any direct federal activity are required to make a "determination" of consistency with the enforceable policies
 of the RICRMP with which the CRMC can agree or disagree. Applicants for federal permits or licenses and
 applicants for federal assistance, on the other hand, are required to make a "certification" of consistency with
 the RICRMP to the federal agency providing the license, permit or financial support, and to the CRMC. The

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 CRMC may either concur with or object to the certification. The proceeding sections further detail these
 distinctions and provide the specific requirements and responsibilities associated with the federal consistency
 requirement.

 Many indirect federal activities because of their location (see RICRMP Part Two: Areas Under Council
 Jurisdiction and applicable Special Area Management (SAM) Plans) are subject to both the CRMC permit
 process as well as federal consistency requirements. (RICRMP Sections 200 and 300 and applicable SAM
 Plans provide specific guidance on permit requirements.) The CRMC has taken steps to ensure that these
 reviews are not duplicative, yet they remain distinct. With the exception of activities taking place on federal
 lands, a CRMC Assent is required for indirect federal activities taking place within the Council's permit
 jurisdiction.

 Where no Council Assent is required for an activity subject to the federal consistency requirement, the Chair
 or Executive Director of the Council will make the final decision regarding the proposed activity's
 consistency with applicable provisions of the RICRMP. In so doing, the Chair or Executive Director may
 seek the advice of the Planning and Procedures Subcommittee on federal consistency reviews.

 There is no categorical exemption for any direct federal activity. Any direct federal activity that is reasonably
 likely to affect the coastal zone must be fully consistent with the RICRMP except where compliance is
 prohibited based on the requirements of existing law applicable to the federal agency's operation. Federal
 agencies may also deviate from full consistency when unforeseen circumstances, such as an emergency
 situation, prevent complete adherence.

 All consistency determinations and certifications should be sent to

                                      Federal Consistency Coordinator
                                   Coastal Resources Management Council
                                   Oliver H. Stedman Government Center
                                            4808 Tower Hill Rd.
                                         Wakefield, RI 02879-1900


 400.1 Direct Federal Activities

 A. Definitions

 1. Direct federal activities are activities, including development projects, performed by a federal agency, or
 contractor on behalf of the federal agency. Examples of such actions include: installation of mooring buoys
 by the National Park Service; fisheries management plans by the National Marine Fisheries Service; naval
 exercises; the disposal of excess federal land by the General Services Administration; U.S. Army Corps of
 Engineers (Corps) navigational dredging and beach renourishment projects; OCS oil and gas lease sales by
 the Minerals Management Service; improvements to military bases; and naval disposal of radioactive or
 hazardous waste performed by a private contractor.

 B. Policies

 1. Federal agencies proposing an activity must follow the requirements of CZMA section 307(c)(1) and (2),
 16 USC 1456 (c)(1), (2) and 15 CFR part 930, subpart C.

 2. Federal agencies proposing an activity are encouraged to contact the Council early in the planning process
 in order to minimize conflicts and delays.

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 3. Federal agencies shall notify the Council of all proposed activities and development projects which are
 reasonably likely to affect any land or water use or natural resource of Rhode Island's coastal zone.
 Notification must be in writing and submitted at the earliest practicable time, but at a minimum of 90 days
 prior to the stage at which alternatives to the proposed action may no longer be reasonably considered.

 4. Listed activities - Any federal agency proposing an activity listed on Table 1 should provide a
 determination of consistency with the applicable enforceable policies of the RICRMP to the Council.

 5. Unlisted activities - In the event that the Council identifies an activity or proposed activity which is
 reasonably likely to affect any land or water use or natural resource of the coastal zone, but which is not
 listed, the Council will notify the appropriate federal agency within 45 days from receipt of notice of the
 unlisted federal activity that, in the Council's opinion, the activity requires a consistency determination. If the
 federal agency decides that a consistency determination is not required for the activity in question, i.e., no
 effects on any land or water use or natural resource of the coastal zone are reasonably likely, then the agency
 shall provide the Council with a negative determination at least 90 days before final approval of the activity
 unless the Council and the federal agency agree to an alternate schedule.

 6. Repeated and Phased activities - Where a federal agency will be conducting incremental actions that are
 repetitive or periodic, substantially similar in nature, and do not affect any land or water use or natural
 resource of Rhode Island's coastal zone, when performed separately, the federal agency may develop a
 general consistency determination. However, the federal agency must consider, when making any
 determination, potential cumulative and secondary effects resulting from the activity(ies).

 In cases where major federal decisions related to a proposed development project will be made in phases
 based upon developing information, a consistency determination will be required for each major decision.

 7. Where a state permit is a prerequisite for Council review of a proposed activity and the permit program is
 part of the enforceable policies of the RICRMP, the federal agency shall either obtain the required approvals
 or, in cases where the federal agency is not required to obtain the state permit, satisfy the policies and
 standards required by those programs.

 C. Information Requirements

 1. The consistency determination must indicate the federal agency’s assessment of consistency, or lack
 thereof, with applicable provisions of the RICRMP. A determination concerning the consistency of a
 proposed federal activity must be accompanied by data and information sufficient to support the
 determination of the federal agency. The information should address any reasonably likely effects and
 consistency with specific the policies, standards, and requirements contained in the RICRMP, any applicable
 SAM Plan, and, when appropriate, applicable elements of the State Guide Plan as specifically as possible to
 ensure a timely and efficient consistency review.

 The consistency determination will be reviewed at a level equal to the review to which the proposed activity
 would be subject as a CRMC permit application. Agencies are directed to the matrices and §300 of the
 RICRMP as well as any applicable SAM Plan to determine whether a proposed activity is allowable, the level
 of review to which it is subject, and specific policies, standards and information requirements.

 2. Where a CRMC permit would be required for the proposed activity if it were being conducted by a private
 entity, the informational requirements for a consistency review are the same as those required for a permit
 review.



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 3. The following is the minimum information necessary:

     a. A detailed description of the site, nature, and extent of the proposed activity and its associated
     facilities and services, their coastal zone effects, and the comprehensive data and information sufficient to
     support the agency’s certification including appropriate facility development plans, engineering drawings,
     maps, diagrams, technical data, and other relevant material.

     b. A brief assessment indicating how the activity will be undertaken in a manner consistent to the
     maximum extent practicable with the RICRMP.

     c. Based upon the above assessment, a brief analysis indicating that the proposed activity, associated
     facilities and their effects are consistent to the maximum extent practicable with the RICRMP.

 4. If a federal agency asserts that compliance with the RICRMP is prohibited, it shall clearly describe in its
 consistency determination the legal authority which it believes limits the federal agency's ability to comply
 with the applicable requirements of the RICRMP.

 5. In cases where a federal agency may be exempt from obtaining other state permits which are a prerequisite
 for Council review of a proposed activity, the federal agency shall furnish the CRMC with data and
 information adequate to ensure that the requirements of any prerequisite regulatory program have been met.


 D. Council Review

 1. Federal agencies shall provide the Council with a consistency determination no later than 90 days before
 final action on the proposed activity unless the federal agency and the Council have agreed to an alternate
 schedule.

 2. The Council will inform the federal agency of its agreement or disagreement with the federal agency's
 consistency determination at the earliest practicable time. The Council will respond to all consistency
 determinations within 45 days of receiving notification of the proposed activity. Federal agencies may
 presume agreement with the determination after 45 days unless the Council has requested an extension of the
 review period. Federal agencies shall grant one extension of the review period of 15 days or less. The federal
 agency and the Council may agree to a longer review period. In no case shall the federal agency commence
 an activity within 90 days of providing the Council with a consistency determination unless approved by the
 Council.

 3. Where the Council disagrees with an agency's determination of consistency it will indicate the nature of its
 objection with specific reference to applicable policies, standards, and requirements contained in the
 RICRMP. It will further recommend alternatives to or modifications of the proposed action that would render
 it consistent to the maximum extent practicable. A copy of such notification shall be forwarded to the
 Secretary of Commerce. If the disagreement is based upon a finding that the agency has failed to provide
 sufficient information, the Council shall describe the nature of and the need for such information. A copy of
 such notification shall be forwarded to the Secretary of Commerce.

 E. Prerequisites

 1. Where the Council requires other state permits as a prerequisite for application review, and the federal
 agency is required to obtain the state permit, the federal agency shall obtain those permits prior to submitting
 its consistency determination.



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 2. In cases where the federal agency may be exempt from obtaining other state permits which are a
 prerequisite for Council review of a proposed activity, and which are enforceable components of the
 RICRMP, federal agencies shall furnish the CRMC with data and information adequate to ensure that the
 requirements of any prerequisite regulatory program have been met.

 F. Conflict Resolution

 1. It is the Council's policy to resolve state-federal disagreements through direct negotiation and consultation
 with the affected agency in the event of the Council's disagreement with a federal agency's consistency
 determination.

 2. If the conflict persists, the federal agency or the Council, may request formal mediation through the
 Secretary of Commerce as provided for in 15 CFR part 930, subpart G or informal negotiation through
 NOAA's Office of Ocean and Coastal Resource Management (OCRM).


 400.2 Federal License or Permit Activities
 A. Definitions

 1. Federal license or permit activities means any form of approval required by a federal agency (but does not
 include approvals to other federal agencies). Examples of such actions are: activities requiring Corps 404
 permits; Interstate Commerce Commission water carrier licenses; Corps permits for use of ocean dump-sites;
 Nuclear Regulatory Commission permits for nuclear power plants; and delicensing of nuclear facilities by the
 Nuclear Regulatory Commission.

 B. Policies

 1. A private individual or business, a state or local government agency, or any other type of non-federal
 entity, applying to the federal government for a required permit or license or any other type of an approval or
 authorization, must follow the requirements of CZMA section 307(c)(3)(A)(16 U.S.C. § 1456(c)(3)(A)) and
 15 CFR part 930, subpart D.

 2. Applicants for federal licenses or permits are encouraged to contact the Council early in the planning
 process in order to minimize conflicts and delays.

 3. Applicants for federal licenses, permits, or other approvals must certify to the Council that the proposed
 activity, whether in or outside of the coastal zone, if reasonably likely to affect any land or water use or
 natural resource of the coastal zone, will be conducted in a manner consistent with the enforceable policies of
 the RICRMP.

 4. Listed activities - Applicants for federal licenses, permits or other approvals for activities occurring in the
 coastal zone and listed in Table 2 must submit a consistency certification to the approving federal agency and
 the Council. In addition, applicants for certain activities identified in section 320 of the RICRMP, regardless
 of their location within the State, must submit a consistency certification to the approving federal agency and
 the Council.

 5. Unlisted activities - In the event that the Council identifies an unlisted activity for which a federal license
 or permit is required and which is reasonably likely to affect any land or water use or natural resource of the
 coastal zone, the Council will notify the applicant, the relevant federal agency and OCRM of its intent to
 review the activity for consistency with the enforceable policies of the RICRMP.



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 6. In cases where a proposed activity requires a CRMC Assent, the issuance of that Assent shall constitute
 Council concurrence with the applicant's consistency certification.

 7. Where any other state or local permit is a prerequisite for Council review of a proposed activity, the
 applicant shall first obtain the required approvals or, in cases where the applicant is exempt from obtaining
 any prerequisite permit, satisfy the policies and standards required by those programs.

 8. No federal agency may issue a license, permit or other approval until: the Council has concurred with the
 applicant's consistency certification in writing or concurrence has been conclusively presumed six months
 after the Council receives the consistency certification; or, through the CZMA appeals process, the Secretary
 of Commerce has determined either that the activity is consistent with the CZMA, or that the activity is
 necessary in the interest of national security.

 C. Information Requirements

 1. The applicant shall provide a statement of consistency in its federal permit or license application. The
 consistency certification shall read: “The proposed activity complies with the Rhode Island’s approved
 Coastal Resource Management Program and will be conducted in a manner consistent with such Program.” A
 copy of the statement shall also be provided to the Council along with supporting information.

 2. Where a CRMC permit is required for the proposed activity, the informational requirements for a
 consistency review will be satisfied by those of the permit review.

 3. The following is the minimum necessary information:

     a. A detailed description of the site, nature, and extent of the proposed activity and its associated
     facilities and services, their coastal zone effects, and the comprehensive data and information sufficient to
     support the applicant’s certification including maps, diagrams, technical data and other relevant material.

     b. A brief assessment relating the probable coastal zone effects of the proposal and its associated
     facilities to the relevant elements of the RICRMP.

     c. Based upon the above assessment, an analysis indicating that the proposed activity, associated
     facilities and their effects are consistent with the RICRMP.

 4. In cases where an applicant may be exempt from obtaining other state permits which are enforceable
 components of the RICRMP and are a prerequisite for Council review of a proposed activity, the applicant
 shall furnish the CRMC with data and information adequate to ensure that the requirements of any
 prerequisite regulatory program have been met.

 D. Council Review

 1. Council review of the proposed activity shall commence upon receipt of the consistency certification and
 necessary data and information. The Council shall respond to all consistency certifications within six months
 or concurrence can be conclusively presumed.

 2. The Council may object to a consistency certification within six months following commencement of its
 review. The Council's objection may be based either on a failure to comply with the enforceable policies of
 the RICRMP or on a failure to provide information necessary to assess the proposed activity in spite of the
 Council's request to do so. In cases where the Council's objection is based on a failure to comply with the
 enforceable policies of the RICRMP, the Council will provide the applicant with a description of how the

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 proposed activity is inconsistent and alternative measures, if they exist, which would render the activity
 consistent. In cases where the objection is based on a lack of sufficient information, the Council will describe
 the information necessary for its review. The Council will notify the applicant, federal agency and OCRM of
 its objection to the consistency certification.

 3. In cases where the Council requests a consistency certification for an unlisted federal license, permit or
 other approval (see Table 2), the Council will notify the applicant, the federal agency and OCRM of its
 request within 30 days of receiving notice of the activity. The applicant and the federal agency have 15 days
 from receipt of the Council's notification to provide comments to OCRM. OCRM will then make a decision
 on the Council's jurisdiction based on whether the activity is reasonably likely to affect any land or water use
 or natural resource of the coastal zone.

 E. Prerequisites

 1. Where the Council requires other state permits as a prerequisite for application review, the applicant shall
 obtain those permits prior to submitting its consistency certification.

 2. In cases where the applicant may be exempt from obtaining other state permits which are a prerequisite for
 Council review of a proposed activity, and which are enforceable components of the RICRMP, applicants
 shall furnish the CRMC with data and information adequate to ensure that the requirements of any
 prerequisite regulatory program have been met.

 F. Conflict Resolution

 1. In cases where the Council objects to an applicant's consistency certification, the Council will make every
 effort to work with the relevant federal agency and the applicant to reach an agreement which would allow the
 activity to be conducted in a manner consistent with the RICRMP.

 2. If the conflict persists, the federal agency or the Council may request formal mediation through the
 Secretary of Commerce as provided for in 15 CFR part 930, subpart G or informal negotiation through
 NOAA's Office of Ocean and Coastal Resource Management (OCRM).

 3. An applicant, within 30 days of receipt of the Council's objection, may appeal the Council's objection to
 the Secretary of Commerce as provided for in 15 CFR part 930, subpart H.


 400.3 Outer Continental Shelf Exploration, Development and Production Activities

 A. Definitions

 1. Outer Continental Shelf Exploration, Development and Production Activities are those activities associated
 with the exploration or development of, or production from, any area which has been leased under the Outer
 Continental Shelf Lands Act (43 USC 1331 et seq.).


 B. Policies

 1. Any private person or business applying to the federal government for outer continental shelf (OCS)
 exploration, development and production activities must follow the requirements of CZMA section
 307(c)(3)(B), (16 USC §1456(c)(3)(B) and 15 CFR part 930, subpart E.


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 2. Any person who submits to the Department of the Interior an OCS plan for the exploration of, or
 development of, or production from, any area leased under the Outer Continental Shelf Lands Act, must
 certify to the CRMC that any activity proposed in such OCS plans which require any federal licenses, permits,
 or other approvals, will be conducted in a manner consistent with the RICRMP.

 3. In general, the Council's policies, review procedures and conflict resolution mechanisms for proposed OSC
 activities mirror those required for federal license or permit activities provided in the previous section.
 However, due to the unique nature of these activities, information necessary to assess the consistency
 certification may vary. Applicants for such activities are therefore encouraged to contact the Council early in
 the planning process in order to minimize conflicts and delays.


 400.4 Federal Assistance to State and Local Governments

 A. Definitions

 1. Federal Assistance to State and Local Governments means assistance provided under a federal program to
 any unit of state or local government or related public entity through grant or contractual arrangements, loans,
 subsidies, guarantees, insurance or other form of financial aid.

 B. Policies
 1. A state or local government agency, or related public entity, applying for federal financial assistance must
 follow the requirements of CZMA section 307(d)(16 USC § 1456(d)) and 15 CFR part 930, subpart F.

 2. The Council monitors federal assistance programs through Rhode Island's Intergovernmental Review
 Process established under E.O. 12372 and E.O. 83-11. However, any federal assistance program which is
 reasonably likely to affect any land or water use or natural resource of the coastal zone is subject to the
 consistency requirement.

 3. Listed programs - Those federal assistance programs listed in Table 3 and supporting activities within the
 coastal zone are subject to the consistency requirement.

 4. Unlisted programs - In the event that the Council identifies a proposed project supported by federal
 assistance, which the Council has determined is reasonably likely to affect any land or water use or natural
 resource of the coastal zone, regardless of whether the assistance program is listed in Table 3 and of the
 location of the proposed project, the Council shall notify the applicant agency, the supporting federal agency
 and NOAA that the Council will review the activity for consistency.

 C. Council Review

 1. The Council will review applications for federal assistance for consistency with the RICRMP in
 accordance with the procedures developed under the intergovernmental review process implemented under
 Executive Order 12372 and Executive Order 83-11.

 2. If the Council does not object to the proposed activity in accordance with the procedures developed under
 the intergovernmental review process, the supporting federal agency may grant the federal assistance.

 3. The Council may object to the proposed project based either on a failure to comply with the enforceable
 policies of the RICRMP or on a failure to provide information necessary to assess the proposed activity in
 spite of the Council's request to do so. In cases where the Council's objection is based on a failure to comply
 with the enforceable policies of the RICRMP, the Council will provide the applicant with a description of

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 how the proposed activity is inconsistent and alternative measures, if they exist, which would render the
 proposed project consistent. In cases where the objection is based on a lack of sufficient information, the
 Council will describe the information necessary for its review. The Council will notify the applicant agency,
 the federal agency and OCRM of its objection.

 D. Conflict Resolution

 1. In cases where the Council objects to a proposed project, the Council will make every effort to work with
 the relevant federal agency and the agency seeking federal assistance to reach an agreement which would
 allow the activity to be conducted in a manner consistent with the RICRMP.
 2. If the conflict persists, the federal agency or the Council may request mediation through the Secretary of
 Commerce as provided for in 15 CFR part 930, subpart G or informal negotiation through NOAA's Office of
 Ocean and Coastal Resource Management.

 3. In no case shall the federal agency grant assistance for a proposed project to which the Council has
 objected unless the applicant appeals the Council's objection to the Secretary of Commerce and the Secretary
 overrides the Council's objection.




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                                                   Table 1
                                           Direct Federal Activities

 The Council has determined that the following activities are reasonably likely to affect coastal uses or
 resources. Federal agencies or contractors undertaking these activities on behalf of a federal agency are
 required to submit a negative determination or a consistency determination to the CRMC if the federal agency
 determines that the activity is reasonably to affect any coastal use or resource. This list is not exhaustive and
 does not obviate the responsibility of federal agencies to submit a consistency determination to the CRMC for
 any direct activity which is reasonably likely to affect any coastal use or resource.

 Activities taking place within any coastal community
    ! Filling, removing, or grading of shoreline features
    ! Residential, commercial, industrial, and recreational structures
    ! Recreational boating facilities
    ! Mooring and anchoring of houseboats and floating businesses
    ! Treatment of sewage and stormwater
    ! Construction of shoreline protection facilities
    ! Energy-related activities and structures
    ! Dredging and dredge material disposal
    ! Filling in tidal waters
    ! Aquaculture
    ! Mosquito Ditching
    ! Construction of public roadways, bridges, parking lots, railroad lines and airports
    ! Maintenance of structures
    ! Alterations to freshwater flows to tidal waters and water bodies and coastal ponds

 Activities taking place anywhere within the state
    ! Power generating plants (excluding facilities of less than a 40-megawatt capacity)
    ! Petroleum storage facilities (excluding storage facilities of less than 2,400-barrel capacity)
    ! Chemical or petroleum processing facilities
    ! Minerals extraction
    ! Sewage treatment and disposal facilities (excluding individual sewage disposal systems)
    ! Solid waste disposal facilities
    ! Desalination plants

 Management Plans
   ! Fisheries Management Plans developed under the Magnuson Fisheries Conservation and Management
       Act
   ! Oil Spill Response Plans


 Miscellaneous Direct Federal Activities
    ! Land acquisition, transfer and disposal
    ! Site selection plans for ocean disposal of dredged materials
    ! Revisions to Flood Insurance Study and National Flood Insurance maps




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                                                 Table 2
                                    Federal License or Permit Activities

 The Council has determined that activities requiring the following federal licenses or permits are reasonably
 likely to affect coastal uses or resources. Applicants for any of these licenses or permits are required to
 submit a certification of consistency to the licensing or permitting federal agency and the CRMC. This list is
 not exhaustive and does not obviate the responsibility of applicants for federal approvals to submit a
 consistency certification for any activity reasonably likely to affect any coastal use or resource to the CRMC.

 Department of Defense - Army Corp of Engineers
 ! Permits and licenses for the discharge of dredged or fill material into the waters and adjacent wetlands of
 the U.S. pursuant to Sec. 404 of the Federal Water Pollution Act of 1972, as amended

 ! Permits to regulate the obstruction or alteration of, the construction of any structure in or over, and the
 excavation from or depositing of material in any navigable waters of the U.S. pursuant to sections 9 and 10 of
 the Rivers and Harbors Act of 1899

 ! Permits and licenses to regulate transportation of dredged material for the purpose of dumping it in
 navigable waters pursuant to Sec. 103 of the Marine Protection, Research and Sanctuaries Act of 1972.

 ! Permits authorizing artificial islands or fixed structures on the outer continental shelf pursuant to section
 4(F) of the Outer Continental Shelf Lands Act and amendment

 ! Permits authorizing the temporary occupation of seawall, bulkhead, jetty, dike, levee, wharf, pier, or other
 work built by the U.S. pursuant to section 14 of the Rivers and Harbors Act of 1899

 ! Approvals of plans for improvements made at private expense under Army Corps of Engineers supervision
 pursuant to the Rivers and Harbors Act of 1899

 Department of Transportation - U.S. Coast Guard
 ! Approval of plans for the construction and modification of bridges, causeways, and pipelines over
 navigable waters pursuant to 33 USC 401, 491 - 507 and 525 - 534;

 !Licenses for the construction and operation of deepwater ports pursuant to the Deepwater Port Act of 1974
 (33 USC 150).

 ! Approvals of private aids to navigation pursuant to 14 USC 83

 ! Permits and authorizations for the handling of dangerous cargo by vessels in U.S. ports pursuant to 46 USC
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 ! Permits for the handling of flammable or combustible liquids in U.S. ports pursuant to 46 USC 391(a)

 Environmental Protection Agency
 ! Permits authorizing the discharges pursuant to section 402 of the Federal Water Pollution Control Act of
 1972, as amended (the National Pollution Discharge Elimination System)

 ! Permits authorizing any discharge, including sewage sludge, into navigable waters pursuant to sections 401,
 402 (33 USC 1341 1342)


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 ! Permits and authorization for underground injections pursuant to section 1421 of the Safe Drinking Water
 Act (42 USC Chapter 82)

 ! Permit sources and waivers of compliance allowing extensions of time to meet air quality standards under
 section 112(c)(1) of the Clean Air Act of 1972, as amended

 ! Exemptions granted under the Clean Air Act for stationary sources

 ! Permits required under the Resource Conservation and Recovery Act of 1980 and its amendments for
 facilities that store, treat or dispose hazardous wastes

 ! Permits required pursuant to section 405 of Clean Air Act of 1972, as amended

 ! Permits for the transportation of dumping material other than dredged material in navigable waters pursuant
 to Sec 102 of the Marine Protection, Research and Sanctuaries Act of 1972

 ! Aquaculture pursuant to Section 318 of the Marine Protection, Research and Sanctuaries Act of 1972

 Department of the Interior
 ! Permits and licenses for drilling and mining and related facilities on public lands

 ! Permits for pipeline rights-of-way on public lands and the outer continental shelf

 ! Permits and licenses for rights-of-way on public lands

 ! Endangered species permits pursuant to the Endangered Species Act (16 USC 1539)

 ! Permits related to the taking of marine mammals pursuant to the Marine Mammals Protection Act (16 USC
 1361-1407)

 ! Permits for the granting of outer continental shelf corridor rights-of-way (43 USC 931(c))
 Department of Energy
 ! Permits related the regulation of gas pipelines, licensing of import or export of gas pursuant to the Natural
 Gas Act (15 USC 717, 717(b))

 ! permits and approvals related to the construction and operation of LNG import/export marine terminals
 pursuant to the Natural Gas Act (15 USC 717f(c))

 ! Permission and approval required for the abandonment of natural gas pipeline facilities under section 7(b)
 of the Natural Gas Act (15 USC 717f(b))


 Nuclear Regulatory Commission
 ! Permits and approvals related to the construction and operation of commercial nuclear reactors pursuant to
 the Atomic Energy Act of 1954 (including delicensing activities).




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                                                  Table 3
                                 Federal Assistance to States and Territories
                                          and Local Governments

 The Council has determined that the following federal assistance programs may support activities which are
 reasonably likely to affect any land or water use or natural resource of the coastal zone. The Council
 monitors these federal assistance programs through the Intergovernmental Review Process established under
 E.O. 12372 and E.O. 83-11. When a unit of state, territorial or local government applies for federal assistance
 to support an activity which is reasonably likely to affect any land or water use or natural resource of the
 coastal zone, the state, territorial or local government unit must provide the Council with a certification of
 consistency. This list is not exhaustive and does not obviate the responsibility of any unit of state, territorial
 or local government to submit a consistency certification to the CRMC for any federally supported activity
 reasonably likely to affect any land or water use or natural resource of the coastal zone.

 Resource Conservation and Development Loans
 Soil and Water Loans
 Water and Waste Disposal Systems for Rural Communities
 Watershed Protection and Flood Prevention Loans
 Industrial Development Grants
 Rural Economic Development Loans and Grants
 Resource Conservation and Development
 Watershed Protection and Flood Prevention
 Grants for Public Works and development Facilities
 Support for Planning Organizations
 Technical Assistance
 Public Works Impact Projects
 Sudden and Severe Economic Dislocation and Long-term Deterioration
 Interjurisdictional Fisheries Act of 1986
 Coastal Zone Management Program Administrative Grants
 Coastal Zone Management Estuarine Research Reserves
 Fisheries Research and Development Grants/Cooperative Agreements
 Public Telecommunications Facilities - Construction and Planning
 Aquatic Plant Control
 Beach Erosion Control
 Emergency Rehab of Flood Control, Federally Authorized Coastal Protection Works
 Flood Plain Management Services
 Protection of Essential Highways, Highway-Bridge Approaches, and Public Works
 Flood Control Projects
 Navigation Projects
 Snagging and Clearing for Flood Control
 Protecting, Clearing and Straightening Channels
 Planning Assistance to States
  Emergency Advanced Measures for Flood Prevention
 Joint Military/Community Comprehensive Land Use Plans
 Housing Development Grants
 Anadromous Fish Conservation
 Sport Fish Restoration
 Wildlife Restoration
 Endangered Species Conservation
 National Water Resources Research Program

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 Historic Preservation Fund Grants-in-Aid
 Outdoor Recreation - Acquisition, development and Planning
 Disposal of Federal Surplus Real Estate Property for Parks, Recreation and Historic Monuments
 Airport Improvement Program
 Highway Planning and Construction
 Development and Promotion of Ports and Intermodal Transportation
 Construction Grants for Wastewater Treatment Works
 Water Pollution Control - State and Interstate Program Support
 Water Quality Management Planning
 Business and Industrial Loans
 Emergency Community Water Assistance Grants
 Cooperative Forestry Assistance
 State and Local Economic Development Planning
 Mortgage Insurance, Rental and Cooperative Housing for Moderate Income and Elderly, Market Interest Rate
 Mortgage Insurance, Rental Housing for the Elderly, Urban Renewal Areas
 Public Indian Housing
 Public Indian Housing, Comprehensive Improvement Assistance Program
 Urban Mass Transportation Capital Improvement Grants, Capital and Operating Assistance Formula Grants
 Public Transportation for Nonurbanized Areas
 State Underground Water Source Protection
 Water Pollution Control, Lake Restoration Cooperative Agreements
 Environmental Protection Consolidated Grants-Program Support
 Consolidated Pesticides Compliance Monitoring and Program Cooperative Agreement
 Toxic Substance Compliance Monitoring Program
 Hazardous Waste Management State Program Support
 State Underground Storage Tanks Program
 Underground Storage Tanks Trust
 Solid Waste Management Assistance
 Pollution Prevention Incentives for States
 Conservation Reserve Program
 Cooperative Extension Service
 Sea Grant Support
 Marine Sanctuary Program
 Military Construction, Army National Guard
 Military Base Re-Use Studies and Community Planning
 Surplus Property Utilization
 Community Development Block Grants/Entitlement Grants and State's Program
 Rental Housing Rehabilitation
 Indian Loans and Grants-Economic Development
 Environmental Contaminants
 Boating Safety Financial Assistance
 Disposal of Federal Surplus Real Estate Property
 Priorities and Allocations for Energy Programs and Projects
 Nuclear Waste Disposal Siting
 Environmental Restoration




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